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Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               ) Case No. 20-12345 (MG)
                                                     )
THE ROMAN CATHOLIC DIOCESE OF                        ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                          )
                                                     )
                              Debtor.                )
                                                     )


    CERTIFICATION OF NO OBJECTION REGARDING (1) THIRTY-SECOND
 MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR
   PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
  AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
 FOR THE PERIOD FROM AUGUST 1, 2023 THROUGH AUGUST 31, 2023; AND (2)
    THIRTY-FOURTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP, AS
      SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
     UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
            AND DISBURSEMENTS INCURRED FOR THE PERIOD
             FROM AUGUST 1, 2023 THROUGH AUGUST 31, 2023


         Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York, the undersigned counsel for the Official Committee of

Unsecured Creditors (the “Committee”) hereby certifies as follows:




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        1.       On November 4, 2020, this Court entered the Order Authorizing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 129] (the

“Interim Compensation Order”),1 which authorized professionals retained pursuant to an order of

this Court in the chapter 11 case to seek interim payment of compensation and reimbursement of

expenses in accordance with the procedures set forth in the Interim Compensation Order.

        2.       On September 29, 2023, the Committee filed the Thirty-Fourth Monthly Fee

Statement of Burns Bair LLP, as Special Insurance Counsel to the Official Committee of

Unsecured Creditors for Professional Service Rendered August 1, 2023 through August 31, 2023

[Docket No. 2525] (the “Burns Bair Monthly Fee Statement”).

        3.       On October 2, 2023, the Committee filed the Thirty-Second Monthly Fee

Statement of Pachulski Stang Ziehl & Jones LLP for Professional Services Rendered and

Disbursements Incurred as Counsel to the Official Committee of Unsecured Creditors for the

Period from August 1, 2023 through August 31, 2023 [Docket No. 2534] (the “PSZJ Monthly

Fee Statement”, together with the Burns Bair Monthly Fee Statement, the “Monthly Fee

Statements”).

        4.       The Burns Bair Monthly Fee Statement was served on September 29, 2023

[Docket No. 2527]. The PSZJ Monthly Fee Statement was served on October 2, 2023 [Docket

No. 2535].

        5.       The Monthly Fee Statements complied with the requirements set forth in the

Interim Compensation Order.

        6.       Pursuant to the Interim Compensation Order, October 16, 2023 and October 17,

2023 were the deadline to object to the Burns Bair Monthly Fee Statement and the PSZJ Monthly


1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.

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DOCS_NY:48763.2 18491/002
Fee Statement, respectively (the “Objection Deadlines”). As of the filing of this Certification of

No Objection, more than forty-eight (48) hours have elapsed since the Objection Deadlines. To

the best of my knowledge, no responses to the Monthly Fee Statements have been (a) filed with

the Court on the docket of the above-captioned chapter 11 case, or (b) served on PSZJ.

        7.       Pursuant to the Interim Compensation Order, upon filing of this Certification of

No Objection, the Debtor is authorized to pay eighty percent (80%) of the fees and one hundred

percent (100%) of the expenses requested in the Monthly Fee Statements and without the need

for entry of a Court order approving the Monthly Fee Statements.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: October 31, 2023                        PACHULSKI STANG ZIEHL & JONES LLP


                                               /s/ Gillian N. Brown
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                                               Creditors




                                                  3
DOCS_NY:48763.2 18491/002
